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                     EXHIBIT 1
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                                                                             Page 1
                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                         AT COVINGTON
                               CIVIL ACTION NO.: 2:20-CV-101
                               JUDGE WILLIAM O. BERTELSMAN
                            MAGISTRATE JUDGE CANDACE J. SMITH


                                 ESTATE OF BRADLEY GROTE,
                                            PLAINTIFF


                                                V.


                            KENTON COUNTY, KENTUCKY, ET AL.,
                                           DEFENDANTS




            DEPONENT:      LUANNA GROTE
            DATE:          AUGUST 2, 2021
            REPORTER:      ELIZABETH HARLOW
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                                                                           Page 34
       1    family sandwich," and it talks about the triple-decker.

       2    And I'm just -- if you need to take a break?

       3           A     No.

       4           Q     Okay.    It says, "His ride came before he could

       5    bite."     Who was -- who's the ride that was picking him

       6    up?

       7           A     Bethany just -- she had just brought me back

       8    from the grocery store, and he had made the sandwich,

       9    and she was getting ready to leave, and he asked her for

      10    a ride.

      11           Q     So Brad would have been home by himself, and

      12    then you and Bethany come back from the store?

      13           A     Yes.

      14           Q     And Brad asks Bethany for a ride somewhere?

      15           A     Brad was alone when I left.          And then when I

      16    came back, the -- whoever the guy was was there.

      17           Q     Who's the guy?      Do you know?

      18           A     I don't know him.

      19           Q     Was he with -- go ahead.

      20           A     He was there with a -- with his girlfriend,

      21    and I think they had gotten into an argument, and she

      22    left him there.

      23           Q     Who's --

      24           A     I don't know these people.

      25           Q     All right.     Well, let me see if I can figure
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                                                                           Page 59
       1    it hypothesis or theory, of when Brad actually took the

       2    drugs that he overdosed on?

       3           A     I believe he took the drugs either as they got

       4    pulled over, or soon after.          I mean, I -- I'm not sure.

       5           Q     So before he got to the jail?

       6           A     Yeah.

       7           Q     Did anybody from the hospital ever tell you

       8    how much or what amount of drugs Brad had ingested?

       9           A     I don't remember.       They just said a lot.

      10           Q     They didn't --

      11           A     I mean, I don't think they knew, either.

      12           Q     They didn't tell you whether -- what the

      13    levels were in his bloodstream or his body?

      14           A     I don't think so.

      15           Q     Did they tell you they found any other drugs

      16    in his system, besides methamphetamine?

      17           A     She said they found a low amount of marijuana

      18    and a trace of fentanyl.

      19           Q     When you had heard that Brad had -- they had

      20    found methamphetamine in his system, did you think Brad

      21    was still using methamphetamine or that he had quit?

      22           A     I thought he was -- I thought he was -- I

      23    thought he quit.

      24           Q     Because that's what he had told you?

      25           A     He didn't -- yeah.       Well, yeah -- he didn't
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                                                                           Page 98
       1                      CERTIFICATE OF REPORTER

       2                 COMMONWEALTH OF KENTUCKY AT LARGE

       3
       4    I do hereby certify that the witness in the foregoing

       5    transcript was taken on the date, and at the time and

       6    place set out on the Title page hereof by me after first

       7    being duly sworn to testify the truth, the whole truth,

       8    and nothing but the truth; and that the said matter was

       9    recorded by me and then reduced to typewritten form

      10    under my direction, and constitutes a true record of the

      11    transcript as taken, all to the best of my skills and

      12    ability. I certify that I am not a relative or employee

      13    of either counsel, and that I am in no way interested

      14    financially, directly or indirectly, in this action.

      15
      16
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      18
      19
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      21
      22    ELIZABETH HARLOW,

      23    COURT REPORTER / NOTARY

      24    COMMISSION EXPIRES ON: 04/06/2022

      25    SUBMITTED ON: 08/13/2021
